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                               UNITED STATES DISTRICT COURT
                                     DISTRICT OF UTAH
                                     CENTRAL DIVISION


   SHADRACH ENNIS, SHAWN HARDING,                 Case No. 2:19-cv-00512 -CW
   NICOLAAS VANLEEUWEN, and
   TERRANCE JESCLARD, individually and              SECOND AMENDED
   on behalf of all others similarly situated,   COLLECTIVE/CLASS ACTION
                                                       COMPLAINT
                      Plaintiffs,

   v.                                              JURY TRIAL DEMANDED

   ALDER PROTECTION HOLDINGS, LLC, a              District Judge Clark Waddoups
   Delaware limited liability company; ADAM
   SCHANZ, an individual; ADAM                     Magistrate Judge Dustin Pead
   CHRISTIAN, an individual; KYLE
   DEMORDAUNT, an individual; DANE
   MCCARTNEY, an individual; and DOES I-
   XCOVE SMART, LLC, a Delaware limited
   liability company,

                     Defendants.




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                   AMENDED COLLECTIVE/CLASS ACTION COMPLAINT

                                              SUMMARY

            Shadrach Ennis, Shawn Harding, Nicolaas Vanleeuwen, and Terrance Jesclard

  (collectively “Plaintiffs”) individually and on behalf of all other similarly situated individuals

  (“Claimants”), bring this action against Alder Protection Holdings, LLC (“Alder” or the

  “Company”); Adam Schanz; Adam Christian; Kyle DeMordaunt; and Dane McCartney, and

  Does I-X. (Mr. Schanz, Mr. Christian, Mr. DeMordaunt, and Mr. McCartney are collectively

  referred to as the “Individual Defendants.” Alder, and the Individual Defendants, and Does I-X

  are collectively referred to as “Defendants.”) This action is brought as a nationwide collective

  action under the Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”), and as a class

  action under Fed. R. Civ. P. 23(b)(3) for violations of Utah’s Payment of Wages Act, Utah Code

  § 34-28-1 et seq.; Breach of Contract; Breach of the Implied Covenant of Good Faith and Fair

  Dealing; violation of the Utah Sales Representative Commission Payment Act, Utah Code § 34-

  44-101, et seq.; Retaliation under the FLSA, 29 U.S.C. 215(a)(3); Common Law Fraudulent

  Inducement; Common Law Fraud; Securities Fraud, Utah Code § 61-1-1, et seq., Section 10(b)

  of the Securities and Exchange Act, and Rule 10(b); Unjust Enrichment; and Declaratory

  Judgment.

                                     JURISDICTION & VENUE

            1.    This Court has federal question jurisdiction under 29 U.S.C. § 216(b) and 28

  U.S.C. § 1331. The Court has supplemental jurisdiction over Plaintiffs’ and Claimants’ state law

  claims under 28 U.S.C. § 1367 because they arise from the same case or controversy as the

  FLSA claims.


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            2.     Venue is proper under 28 U.S.C. § 1391 because a substantial part of the events

  giving rise to this claim occurred in this District and Division.

            3.     Defendants are subject to personal jurisdiction in Utah.

                                             THE PARTIES

            4.     Shadrach Ennis is an individual currently residing in Salt Lake City, Utah.

  Mr. Ennis worked for Alder from approximately January of 2016 to February of 2019. He

  served as a Junior Divisional Sales Manager from approximately 2017 to 2018.

            5.     Shawn Harding is an individual currently residing in Houston, Texas.

  Mr. Harding worked for Alder from approximately the fall of 2013 to January of 2019. He

  served as a Divisional Sales Manager from approximately 2017 to 2019.

            6.5.   Nicolaas Vanleeuwen is an individual currently residing in Mobile, Alabama.

  Mr. Vanleeuwen worked for Alder from approximately March of 2016 to January of 2019. He

  served as a Divisional Sales Manager from approximately 2017 to January of 2019.

            7.6.   Terrance Jesclard is an individual currently residing in Utah. Mr. Jesclard worked

  for Alder from approximately 2011 to 2018. He served as a Divisional Sales Manager from

  approximately 2011 to 2018.

            8.7.   Defendant Alder Protection Holdings, LLC is a Delaware limited liability

  company with its principal place of business in Orem, Utah. Alder represents that it has business

  locations in all 50 states in the United States.

            9.8.   Alder is engaged in the business of selling, installing, and servicing electronic

  security equipment.




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            10.9.   Adam Schanz is an individual believed to reside in Utah County, Utah. Mr.

  Schanz is the founder, owner, manager, and the Chief Executive Officer of the Company. At all

  relevant times Mr. Schanz was an “employer” as defined under the FLSA and the Utah Payment

  of Wages Act. Mr. Schanz was actively involved in and exercised the authority to not pay Alder

  sales representatives the compensation owed to them. Mr. Schanz exercised control over hiring

  and firing and over the setting, payment, reduction and non-payment of compensation, wages,

  commissions, benefits. He also exercised control over the management decisions affecting the

  workforce.

            11.10. Adam Christian is an individual believed to reside in Utah County, Utah. Mr.

  Christian is the General Counsel of Alder. At all relevant times Mr. Christian was an “employer”

  as defined under the FLSA and the Utah Payment of Wages Act. Mr. Christian was actively

  involved in and exercised the authority to not pay Alder sales representatives the compensation

  owed to them. Mr. Christian exercised control over hiring and firing and over the setting,

  payment, reduction and non-payment of compensation, wages, commissions, benefits. He also

  exercised control over the management decisions affecting the workforce.

            12.11. Kyle DeMordaunt is an individual believed to reside in Utah County, Utah. Mr.

  DeMordaunt is the CFO of Alder. Among other things, Mr. DeMordaunt is responsible for the

  administrative, financial, and risk management operations of Alder, including the monitoring and

  preserving of company assets and financial results. At all relevant times Mr. DeMordaunt was an

  “employer” as defined under the FLSA and the Utah Payment of Wages Act. Mr. DeMordaunt

  was actively involved in and exercised the authority to not pay Alder sales representatives the

  compensation owed to them. Mr. DeMordaunt exercised control over hiring and firing and over


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  the setting, payment, reduction and non-payment of compensation, wages, commissions, and

  benefits. He also exercised control over the management decisions affecting the workforce.

            13.12. Dane McCartney is an individual believed to reside in Utah County, Utah. Mr.

  McCartney is the President of Sales for Alder. Among other things, Mr. McCartney is

  responsible for overseeing and managing the individuals that comprise Alder’s sales force and

  their compensation, including the making and repayment of loans and advances. At all relevant

  times Mr. McCartney was an “employer” as defined under the FLSA and the Utah Payment of

  Wages Act. Mr. McCartney was actively involved in and exercised the authority to not pay

  Alder sales representatives the compensation owed to them. Mr. McCartney exercised control

  over hiring and firing and over the setting, payment, reduction and non-payment of

  compensation, wages, commissions, and benefits. He also exercised control over the

  management decisions affecting the workforce.

            14.    Plaintiffs are unaware of the true names and capacities of the defendants sued

  herein as Does I-X. Plaintiffs reserve the right to amend this Complaint when the identity of any

  Doe defendant is ascertained.

            13.    Cove Smart, LLC (“Cove”), is a Delaware limited liability company with its

  headquarters in Utah, at the same location as Alder’s headquarters. On information and belief,

  the majority of its membership interests are held by Mr. Schanz.

                                     NATURE OF THE ACTION

            15.14. Alder is a door-to-door sales company that relies on individual sales

  representatives to sell its alarm services and products on a commission basis to residential

  customers throughout the United States.


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            16.15. Alder recruits sales representative through false representations and then exploits

  them into working for little or no compensation.

            17.16. Alder incentivizes sales representatives to forego immediate compensation in

  exchange for illusory promises of long-term wealth through the creation of “books of business”

  that will pay guaranteed returns to them in the future.

            17.    Alder gives sales representatives a false understanding that they have ownership

  over their “books of business.”

            18.    In addition, Alder misrepresents commissions paid to sales representatives as

  loans and forces sales representatives to sign Promissory Notes (“Notes”) and Confessions of

  Judgment (“COJs”) for these fictional loans. in arbitrary amounts.

            18.19. Alder then uses the Notes and COJs to retaliate against sales representatives who

  leave the Company and coerce sales representatives into continuing to work for Alder as

  essentially indentured servants. On information and belief, Defendants also use the Notes to

  collateralize loans for Alder, Cove, and other entities.

            19.20. These exploitative practices are all part of Defendants’ fraudulent scheme to

  profit from the sales representatives’ talent and hard work without compensating them as

  required by applicable law and the parties’ contracts.

            21.    Mr. Schanz has also created separate entities through which Defendants have been

  unjustly enriched by the transfer of value from Alder to these entities, to the detriment of the

  sales representatives.

            20.22. This action is brought to recover damages for the Defendants’ wrongful conduct,

  and to redress and end Alder’s long-time pattern of willful and unlawful conduct.


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            21.23. With regard to claims under the FLSA, Plaintiffs bring this action on behalf of

  themselves, and as a collective action on behalf of all other similarly situated sales

  representatives who are currently or were previously employed by Alder within the United

  States. Alder has failed to pay sales representatives minimum wage and overtime, including but

  not limited to during training time.

            22.24. With regard to all other causes of action, Plaintiffs bring this action on behalf of

  themselves and as a class action on behalf of all other similarly situated sales representatives

  who currently or previously worked for Alder within the United States.

                    COMMON FACTUAL ALLEGATIONS FOR ALL CLAIMS

       A.1.      Alder InducesRecruits Sales Representatives To Work As Door-to-Door
          Sales RepresentativesUnder a Residual Compensation Model Based on
          Misrepresentations.

            23.25. Alder uses door-to-door sales representatives to sell its products and services

  throughout the United States.

            24.26. The individuals who Alder recruits as door-to door sales representatives are

  predominantly college-age males who are recruited to work as independent contractors for Alder

  during the summer months.

            25.27. Alder then sends thetrains these college-age sales representatives in Alder’s sales

  practices and techniques and assigns them to locations throughout the United States to sell

  Alder’s products and services on a commission basis. At the sales representatives’ election, the

  commissions may be in the form of deferred/equity compensation, known as “Residuals.”

            26.28. Alder recruits sales representatives by, among other things, making

  representations regarding alleged achievements and income of certain individual sales


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  representatives from prior sales seasons. A sample recruiting brochure is attached hereto as

  Exhibit A. Alder’s published “2018 Sales Statistics” are attached hereto as Exhibit B. This

  sample recruiting brochure is substantially similar to the brochures received by Plaintiffs when

  they were recruited and received by Claimants when they were recruited.

            27.29. The information contained in Exhibit A, Exhibit B, and other similar recruiting

  messages is false and misleading in multiple respects, including the following:

                  a. Alder has a policy and practice of dramatically overstating the income earned by

                     the individuals highlighted in Exhibit A, Exhibit B, and elsewhere in recruiting

                     materials.

                  b. Alder has a policy and practice of representing to recruits and sales

                     representatives that a “book of business” is a fully vested form of compensation

                     that creates a form of “passive income.” For example, Exhibit A states that

                     “accounts you sell continue to generate value for you throughout their life.”

            28.30. Alder representatives, including the Individual Defendants, also made

  misrepresentations during in-person recruiting conversations, on which Plaintiffs and Claimants

  relied in deciding to work for Alder and to continue working for Alder. These misrepresentations

  included false statements about how sales representatives would build a “book of business” that

  would result in a passive income stream and would be bought out by a third party at a 50x

  multiple or similarly high multiple.

            29.31. For example, in or around March of 2016, Adam Schanz personally recruited Mr.

  Vanleeuwen by representing (1) that Mr. Vanleeuwen would earn $50,000 per month after his

  second summer sales season and (2) that as an example of Mr. Vanleeuwen’s earning potential, a


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   certain rising-star sales representative for Alder was earning $150,000 per month (even though

   this individual was actually earning $20,000 per month).

             30.32. When personally recruiting Mr. Jesclard (in 2011) and Mr.former Plaintiff Shawn

   Harding (in 2013) to work for Alder, Adam Schanz represented that the residualResidual model

   and building a “book of business” would mean passive income for Mr. Jesclard and Mr. Harding.

   Schanz explained that Mr. Jesclard and Mr. Harding would only need to work as salesmen for a

   few years to build up their book of business and then would continue to earn money on those

   accounts while pursuing other careers or interests.

             31.33. Mr. Schanz represented to Mr. Jesclard in 2011 that (1) Alder sales

   representatives could buy homes with cash as a result of their large salaries at Alder; (2) Mr.

   Jesclard would be an equal partner with Alder and would retain 50% equity in all accounts he

   either generated or purchased; (3) Mr. Jesclard could choose how much of his residualResidual

   he would receive as a salary while the remaining residualResidual amounts would pay off any

   debt on his “book of business”; and (4) Alder would sell its accounts in a few years and Mr.

   Jesclard would be paid 50% of the value of his accounts multiplied by a minimum multiple of

   40x.

             32.34. Adam Schanz specifically represented to Mr. Harding in 2013 that (1) for each

   account he sold, Mr. Harding would receive $20 and (2) Alder would sell the accounts in three to

   five years for no less than a 55x multiple on each account. Schanz explained that Mr. Harding

   would be able to use a portion of his residuals to pay debt and then could choose how much of

   his residuals to be paid per month as a salary.




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             33.35. As another example, Connor Rockwood, Alder’s Vice President of Recruiting,

   stated to Mr. Ennis during an in-person recruiting conversation in 2016 (1) that one or more

   Alder sales representatives were earning $150,000 per month; (2) that if hisMr. Ennis’s

   employment with Alder were terminated, he would continue to receive residual payments for the

   same number of years that he had worked for Alder; and (3) that Mr. Ennis would own 40%

   equity in all accounts he sold, providing the following example: if Mr. Ennis sold 200 accounts,

   he would make a total of $440,000, half of which would be residualResidual payments made to

   Mr. Ennis and the other half would be equity that would apply to his “book of business.”

             34.36. During Plaintiffs’ and Claimants’ employment, Individual Defendants made

   repeated false statements to them about the amount of their respective “books of business.” For

   example:

                   a. On or about December 12, 2018, Mr. Vanleeuwen sent a text message to

                      Mr. Schanz inquiring about his “book of business.” Mr. Schanz responded that

                      Mr. Vanleeuwen was accruing $47,000 per month in total residuals. Mr. Schanz

                      also represented that Mr. Vanleeuwen’s “book of business” was worth over $3

                      million.

                   b. Subsequently, in a declaration dated February 22, 2019, Mr. Schanz admitted that

                      any representations regarding Mr. Vanleeuwen’s “book of business” were literally

                      false because “it would have only been for argument purposes and any actual

                      amounts would be offset by expenses incurred by Alder in connection with each

                      account and each sales representative on Vanleeuwen’s team.” He further

                      admitted “any such valuation was based on a hypothetical valuation if Alder were


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                      to find a buyer of its accounts . . . and that buyer paid a competitive multiple for

                      each account.”

                   c. The information that Mr. Schanz admittedly omitted from his communications

                      with Mr. Vanleeuwen—that the cited amounts did not include expense offsets and

                      were based on a hypothetical valuation in a hypothetical transaction—was highly

                      material to the calculations themselves and to Mr. Vanleeuwen’s decision to

                      remain with Alder under the residualResidual compensation plan.

                   d. At various points in Mr. Jesclard’s employment, DaneMr. McCartney and/or

                      DougMR. Kauffmann told him that the value of his book of business was growing

                      at a rate of between $20,000 and $35,000 per month and was worth a few million

                      dollars total. Mr. Jesclard chose to continue working for Alder based on these

                      representations.

                   e. After a few years of negative experiences with Alder, Mr. Harding resigned his

                      employment with Alder. To recruit him to come back to Alder, Adam Schanz

                      represented to him that his book of business was worth around $1.1 million. Mr.

                      Harding relied on this statement and it was the reason he went backin returning to

                      work for Alder.

                   f. Connor Rockwood and Brandon Rockwood represented to Mr. Ennis on multiple

                      occasions that his book of business was “positive,” meaning that ithe was

                      essentially free of any debt to Alder. Relying on this statement, Mr. Ennis elected

                      to receive a higher monthly payment of residualsResiduals from the accounts he

                      generated.


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             37.     Jason Summers, Alder’s former Chief of Sales Operations, was responsible to

   oversee Alder’s sales reporting and the calculation of residuals in each sales representative’s

   “books of business.” Mr. Summers has personal knowledge of Alder and the Individual

   Defendants intentionally providing false and/or misleading information to and intentionally

   withholding information from sales representatives regarding the true value of their residuals, for

   the purpose of inducing them to continue providing services to Alder. Mr. Summers has provided

   a declaration attached as Exhibit D.

             38.     As Alder’s Chief of Sales Operations, Mr. Summers provided Invested Capital

   Reports to sales representatives upon request. These reports would show a sales representative’s

   Residual balance (although the reports were difficult to understand and often unreliable because

   the information was out of date and/or the wrong Sales Rules were applied). During 2018, Mr.

   Schanz instructed Mr. Summers on several occasions to stop providing Invested Capital Reports.

   At first, Mr. Summers ignored the instruction and continued providing the reports to sales

   representatives upon request. However, at the end of the 2018 summer sales season, Mr. Schanz

   confronted Mr. Summers in Mr. Summers’ office and forcefully ordered him to stop printing the

   reports because they led sales representatives to ask too many questions about why their Residual

   balance was so low, and Mr. Schanz did not have time to answer all these questions.

             f.39.   In or around July 2020, Mr. Summers observed Mr. McCartney provide false

   information to sales representative AJ Kilgore in a text message regarding the value of his “book

   of business.” Specifically, Mr. McCartney used a formula consisting of the product of some

   arbitrary monthly revenue amount and a 50x acquisition multiple less a debt amount. Mr.

   McCartney’s representation gave Mr. Kilgore a false and inflated view of the “equity” associated


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   with his “book of business.” Mr. McCartney provided his assurance of “equity” to convince the

   sales representative to keep selling for Alder. Mr. McCartney did so after Mr. Summers had

   specifically told him that the sales information should be used only for sales statistics and not to

   communicate to sales representatives the value of their Residuals because it did not reflect

   deductions, expenses, cash advances, or adjustments.

             40.    Plaintiffs and Claimants relied on these false and misleading statements in

   deciding to work for Alder, in deciding to remain with Alder, and in agreeing toelecting the

   residualResidual compensation plan described below.

        B.2.      Alder Uses Promissory Notes and Confessions of Judgment to Control,
           Intimidate, and Retaliate Against Its Sales Representatives.

             35.41. Alder required Plaintiffs and Claimants to sign Notes and COJs in arbitrary

   amounts at the time they were hired by Alder and/or at various intervals throughout their

   relationship with Alder.

             36.42. Alder initially presented the Notes and COJs as standard onboarding and annual

   paperwork. However, if an employee did not immediately sign or requested an explanation,

   company representatives would become more insistent that the documents be signed and would

   make threats.

             37.43. For example, while working for Alder in Alabama, Mr. Harding returned from

   door-to-door sales with his team to the office to find his Regional Manager, Bobby Shane, with

   printed Notes and COJs for everyone on the team and a notary. Each COJ had an arbitrary

   number written as the judgment amount and everyone was told they had to sign the documents

   before they went home for the day or else their pay would be shut off.



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             38.44. If present at Alder headquarters in Utah during a push for representatives to sign

   COJs, representatives would be asked to report to an Alder administrator who would present the

   COJ and Note on an iPad and instruct the representatives to sign. The administrator would then

   churn through the line of representatives waiting to sign their designated Note and COJ under the

   threat of withheld compensation.

             39.45. Dane McCartney and/or Adam Christian would personally call the employees and

   demand that they sign the baseless Notes and COJs or else their monthly payments would be cut

   off and their company cell phone (their primary vehicle for conducting business) would be shut

   down.

             40.46. Each time Mr. Vanleeuwen was required by Alder to sign a Note and COJ, he

   received a call from Mr. McCartney threatening that if he did not sign that very day, his

   compensation would be cut off. To the best of Mr. Vanleeuwen’s knowledge and recollection,

   these calls occurred on or about March 23, 2016, December 14, 2016, September 21, 2017, and

   September 10, 2018.

             41.47. Alder drafted the Notes and COJs, with no opportunity for Plaintiffs or Claimants

   to negotiate them and with scarcely any time to read them.

             42.48. Alder never explained to Plaintiffs that Alder could use the documents to obtain a

   monetary judgment against them without giving them an opportunity to assert defenses to the

   alleged default or to dispute the amounts sought in the judgment.

             43.49. Alder did not advise Plaintiffs to have an attorney review or negotiate the terms of

   the Notes or COJs.




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             44.50. Plaintiffs did not receive any benefit in exchange for signing the Notes and COJs.

   In most cases, theThe Notes and COJs reflected fictional loans that were never actually made to

   Plaintiffs.

             45.51. In litigation on the Notes and COJs, Alder has represented that the Notes and

   COJs secured advances made to Plaintiffs. However, in those cases, Alder was unable to show

   that the judgment amounts were calculated based on any particular advances.

             46.52. When Mr. Harding asked Mr. Kauffman how Alder determines the monetary

   amount for each COJ, Mr. Kauffman responded that Mr. Schanz simply chooses a number he

   thinks is fair. Mr. Summers has also confirmed that the amounts stated on the Notes and COJs

   are arbitrary.

             47.53. In many cases, the Notes and COJs were sloppily prepared and contained errors.

             48.54. In some cases, the payment date was the same date on which the loan date

   identified in the Note. Kyle DeMordaunt stated in a declaration dated February 22, 2019, that

   “Alder intentionally made the payment date” on Mr. Vanleeuwen’s September 21, 2017 Note to

   be September 21, 2017—the same date the Note was signed and the same date the loan was

   purportedly made. Mr. DeMordaunt admitted that the purpose of the Note was hold Mr.

   Vanleeuwen hostage. He explained in his declaration that “Vanleeuwen signed the Note and COJ

   in September, which is after the main sales season for Vanleeuwen and his sales team and is

   often the time, in Alder’s experience, that its independent contractor sales representatives will

   terminate their relationship with Alder and switch to a competitor of Alder’s. Therefore, Alder

   wanted the ability to immediately enforce the Note in the event that Vanleeuwen left Alder.”




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             49.55. Most of the Plaintiffs were forced to sign Notes and COJs for amounts that

   exceeded the total compensation provided to them by Alder during the term of their relationship.

   For example, Mr. Vanleeuwen signed Notes and COJs for a combined amount of at least

   $717,000—more than the total amount of $616,130.02 that he received from Alder while

   providing services to the Company.

             50.56. The amounts paid to Plaintiffs were reported to the IRS on 1099 forms, triggering

   Plaintiffs’ duty to pay income taxes on such amounts. Plaintiffs relied on Defendants’

   representations on the 1099 forms by paying income taxes on reported amounts.

             51.57. The preparation and submission of these 1099 forms was inconsistent with

   Alder’s position that the funds reported on the 1099 forms were loans or advances subject to

   repayment.

             52.58. Alder used the Notes and COJs to intimidate Plaintiffs and to prevent them from

   leaving the Company, thus creating a form of debt bondage.

             53.59. Alder also used the Notes and COJs to retaliate against Plaintiffs for leaving the

   Company and to intimidate other sales representatives who may be considering leaving the

   Company.

             54.60. Each of the Plaintiffs has been harmed as a result of Alder filing a COJ against

   them, which resulted in a judgment being entered before they were able to object or otherwise

   respond to the COJ. Plaintiffs have been forced to retain counsel in order to attempt to set aside

   the judgments.

             55.61. For example, a $53,000 judgment was entered against Mr. Vanleeuwen as a result

   of the Note and COJ that he was forced to sign on September 21, 2017. Following extensive


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   briefing and submission of evidence by both parties and oral argument, the Third District Court

   set aside the judgment against Mr. Vanleeuwen, finding among other things that Alder had made

   misrepresentations to the Court regarding the amount owed by Mr. Vanleeuwen and that the COJ

   and underlying Note were likely unconscionable and otherwise unenforceable.

             56.62. Similarly, a $16,000 judgment was entered against Mr. Ennis as a result of the

   $16,000 Note and COJ that he was forced to sign on November 10, 2017. Following extensive

   briefing and submission of evidence by both parties and oral argument, the Third District Court

   set aside the judgment against Mr. Ennis.

             57.63. A $36,000 judgment was entered against Mr. Jesclard as a result of the $36,000

   Note and COJ that he was forced to sign on October 29, 2014. Following extensive briefing and

   submission of evidence by both parties and oral argument, the Third District Court set aside the

   judgment against Mr. Jesclard.

             58.64. A $47,000 judgment was entered against former Plaintiff Mr. Harding as a result

   of the $47,000 Note and COJ that he was forced to sign on October 25, 2016. The Third District

   Court denied Mr. Harding’s motion to set aside the judgment. That decision is currently onwas

   appealed; however, the case was settled before the appeal. was decided. As a result of the

   settlement, Mr. Harding has also filed an independentwithdrew as a Plaintiff in this action in

   state court seeking to set the judgment aside. .

             59.65. In each of these cases, Alder sought to justify its judgment by making

   representations to the Court as to the total amount of money Plaintiffs owed at the end of their

   employment with Alder:




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                   a. Alder represented that Mr. Vanleeuwen owed the company $553,153.31 (although

                      it later partially retracted that calculation).

                   b. Alder represented that Mr. Ennis owed the company $31,120.96.

                   c. Alder represented that Mr. Jesclard owed the company $201,790.25.

                   d. Alder represented that Mr. Harding owed the company $304,166.25.

             60.66. Based on Alder’s representations, each of these high-performing sales

   representatives went deeper into debt the longer they worked for Alder, demonstrating that

   Alder’s so-called Residual “compensation system” is actually modern-day debt bondage.

             61.67. Alder’s characterizations of Plaintiffs’ and Claimants’ earnings as advances,

   Alder’s practice charging expenses and other amounts to Plaintiffs and Claimants (described in

   more detail below), and Alder’s practice of clawing back Plaintiffs’ and Claimants’ earnings

   through Notes and COJs resulted in their earnings falling below minimum wage and below

   salary basis requirements for exempt employees.

             68.      Defendants also used the Notes to collateralize loans for other entities owned by

   Mr. Schanz, as described below.

        C.3.          Alder Misclassifies its Sales Representatives as Independent Contractors.

             62.69. Alder’s employment and compensation agreements with Plaintiffs and Claimants

   state that they are independent contractors.1




   1
    Alder’s agreement actually purports to classify its workforce as independent contractors
   “[e]xcept as otherwise required by applicable governmental authority for licensing, taxation or
   other purposes…” It is axiomatic that Alder cannot classify its workforce one way for one self-
   serving purpose and another way for another self-serving purpose.

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             63.70. However, Alder exercises a high degree of control over its sales representatives,

   which is inconsistent with independent contractor status. For example:

                   a. Plaintiffs were required to train and manage Alder representatives who sold

                      Alder’s products and services to customers.

                   b. Plaintiffs were required to work, and did work, far in excess of 40 hours per week,

                      particularly during the summer sales season.

                   c. Plaintiffs were required to comply with Alder’s instructions and policies,

                      including its Code of Conduct, its Sales Rules, its Guidebook, and its A/V

                      Recording Policy.

                   d. Plaintiffs were required to attend regular meetings at the direction of Alder,

                      including weekly manager meetings and conference calls.

                   e. Plaintiffs were required to request leaves of absence and receive approval from

                      Alder before taking leave for any reason.

                   f. Plaintiffs were required to perform services personally and could not contract out

                      for their performance by others.

                   g. Plaintiffs were required to provide services on behalf of and under the branding of

                      Alder. Alder required them to wear a uniform polo shirt and identification badge

                      with Alder branding.

                   h. Plaintiffs were required to enter noncompetition agreements, which purport to

                      prevent them from working for an Alder competitor during and for a period of

                      time after the end of their relationship with Alder.

        D.4.     Alder Requires Sales Representatives to Sign Complex Compensation
           Agreements that Contradict Verbal Promises and Force Employees to Choose

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             Between Forfeiting Accrued Compensation or Remaining with the Company
             Indefinitely.

             64.71. Alder employs three levels of sales representatives: Rookie Sales Representatives,

   Experienced Sales Representatives, and Divisional Sales Managers. 2

             65.72. Alder requires each sales representative to enter an independent contractor

   agreement that provides for how the sales representative will be compensated (the

   “Agreement(s)”). The Agreements signed by Plaintiffs and Claimants are all substantially the

   same. Alder has filed what it purports are the governing Agreements between Alder and

   Plaintiffs. See Docs. 48-7, 48-8, 48-10.

             66.73. These Agreements were uniformly presented to Plaintiffs and Claimants under

   circumstances in which Plaintiffs and Claimants had no bargaining power. Plaintiffs and

   Claimants were not given adequate time to review the contracts prior to signing and were

   pressured to sign quickly under threat of their compensation being cut off. Plaintiffs and

   Claimants were not allowed to ask questions and/or were not provided adequate answers to their

   questions about the Agreements. Plaintiffs and Claimants were also denied copies of their signed

   Agreements. As a result, the Agreements are procedurally unconscionable.

             67.74. The terms of the Agreements are almost entirely one-sided in favor of Alder. For

   example, the 2017 Divisional Sales Manager Agreement, attached as Exhibit C, provides:

                   a. Alder has unilateral authority to revise the fees it charges to a Divisional Sales
                      Manager (“Divisional”) and deducts them from earnings. [§ 1.]

                   b. The Division must sign “a waiver and release of claims agreement in a form
                      satisfactory to Alder” in order to receive “Monthly Residual due Divisional



   2
       A few individuals have been given the intermediate title of Junior Divisional Sales Manager.

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                      through the date of termination,” “Override Residual due Divisional through the
                      date of termination,” and other amounts owed to Divisional. [§ 5(d).]

                   c. Divisional is entitled to deferred compensation in the form of Residuals only “[s]o
                      long as Divisional is actively engaged in providing the Services” to Alder. [§ 6.]

                   d. “Divisional hereby absolutely, unconditionally and irrevocably guarantees. . .
                      Advances” made to individuals recruited to work for Alder by Divisional.
                      [§ 22(a).]

                   e. “Divisional will not exercise. . . any right of subrogation, reimbursement,
                      exoneration, contribution or indemnification” against the Recruits “unless and
                      until all of the Obligations and all other amounts payable under this guaranty shall
                      have been indefeasibly paid in full.” [§ 22(g).]

                   f. Alder (but not Divisional) is released from “consequential, indirect, incidental,
                      special, exemplary, punitive or enhanced damages, lost profits or revenues or
                      diminution in value” arising under the agreement. [§ 23(a).]

                   g. Alder’s (but not Divisional’ s) liability under the agreement is limited to “the total
                      of the amounts paid and amounts accrued but not yet paid to Divisional pursuant
                      to this agreement in the twelve (12) month period preceding the event giving rise
                      to the claim.” [§ 23(b).]

                   h. “Divisional shall indemnify and hold harmless, and at Alder’s request defend,
                      Alder . . . from and against any and all claims” for “any breach . . .of any
                      agreement with Alder by a Recruit” or for “bodily injury, death of any person, or
                      damage to real or tangible, personal property resulting from Divisional’s or any of
                      his Recruits’ acts or omissions.” [§ 24.]

                   i. Divisional waives the right to participate in a class action or collective action.
                      [§ 25(g).]

                   j. Divisional waives the right to jury trial. [§ 25(h).]

             68.75. The terms of the Agreements unconscionably deprive Plaintiffs and Claimants of

   effective means by which to enforce their rights and place an inordinate amount of liability on

   Plaintiffs and Claimants. As a result, the Agreements are substantively unconscionable.



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             69.76. Alder’s compensation plans involve two primary methods of compensation:

   commissions on sales made and residualResidual equity interests in customer accounts

   (“Residuals”)..

             70.77. Most Rookie Sales Representatives and Experienced Sales Representatives are

   compensated under a hybrid compensation plan consisting of part commissions and part

   Residuals.

             71.78. Most Divisional Sales Managers are compensated entirely through Residuals.

             72.79. For example, one 2017 Divisional Sales Manager Agreement provides for three

   types of Residuals – Monthly Residuals, Override Residuals, and Sale Residuals – as set forth in

   section 6 of Exhibit C:

             Monthly Residual. So long as Divisional is actively engaged in providing the Services or
             is subject to an Approved Absence, Alder shall pay Divisional with respect to each
             Eligible Residual Contract3 personally generated by Divisional monthly residual
             compensation (the “Monthly Residual”) out of the full MMR [monthly monitoring rates]
             actually collected (not billed) by Alder in respect of such Eligible Residual Contract an

   3
     Under the 2017 Divisional Sales Manager Agreement, “‘Eligible Residual Contract’ means, as
   of the time of determination, a Residual Contract satisfying all of the following requirements: (i)
   all installation fees and monthly service and/or monitoring fees (other than fees outstanding for
   less than thirty (30) days) have been received or otherwise collected in full by Alder; (ii) the
   customer is currently satisfied with the installation, security equipment, monitoring services and
   all other services provided by Alder and/or the third-party monitoring company; (iii) the Contract
   has been properly documented and equipment installed in accordance with the then current Alder
   Policies; (iv) the Contract has not been cancelled or otherwise terminated and the customer has
   not requested to cancel or otherwise terminate the Contract; (v) when generated or otherwise first
   identified as a Residual Contract, the Contract was for an initial term of not less than forty-two
   (42) months; and (vi) the Contract is either an Auto-Pay Contract or a Qualified Invoiced
   Contract. For the avoidance of doubt, the following Contracts will not be deemed Eligible
   Residual Contracts: (A) Contracts that are submitted to Alder more than five (5) days after they
   are signed by the customer; (B) Contracts where the customer has not made at least one payment
   of the applicable MMR from the date of the installation of the security system; (C) Contracts that
   have any amounts owed Alder that are more than thirty (30) days past due; or (D) Contracts that
   that do not qualify as Residual Contracts.


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             amount equal to the then applicable RCR 4 for such Eligible Residual Contract. Alder
             shall pay the Monthly Residual due Divisional for MMR collected on Eligible Residual
             Contracts during a calendar month on or before the twenty-fifth (25th) day of the
             following month. Alder's payment of Monthly Residual to Divisional shall be
             accompanied by a monthly report computing the Monthly Residual being paid and shall
             detail Divisional’ s Eligible Residual Contracts, the MMR actually collected thereon and
             the RCR payable with respect thereto.

             Override Residual. So long as Divisional is actively engaged in providing the Services or
             is subject to an Approved Absence, Alder shall pay Divisional with respect to each
             Eligible Residual Contract personally generated by an Override Recruit a monthly
             residual override (the “Override Residual”) out of the full MMR [monthly monitoring
             rates] actually collected (not billed) by Alder in respect of such Eligible Residual
             Contract the following applicable amount: (A) with respect to an Eligible Residual
             Contract generated by a First-Tier Recruit, $5.00; (B) with respect to an Eligible Residual
             Contract generated by a Second-Tier Recruit, $3.00; and (C) with respect to an Eligible
             Residual Contract generated by a Third-Tier Recruit, $1.00. Alder shall pay the Override
             Residual due Divisional for MMR collected on Eligible Residual Contracts during a
             calendar month on or before the twenty fifth (25th) day of the following month. Alder's
             payment of Override Residual to Divisional shall be accompanied by a monthly report
             computing the Override Residual being paid.

             Sale Residual [for Existing Divisional Contracts]. Subject to Section 6(b)(iii)(C), so long
             as Divisional is actively engaged in providing the Services or is subject to an Approved
             Absence, upon the occurrence of a Contract Sale 5 of an Existing Divisional Contract,6
             Alder shall pay Divisional out of the Net Sales Proceeds from such Contract Sale an
             amount (the “Contingent Sale Residual”) equal to the excess, if any, of (1) the Expected


   4
     Under the 2017 Divisional Sales Manager Agreement, “‘RCR’ means, with respect to an
   Eligible Residual Contract personally generated by Divisional, the residual compensation rate
   (stated as a dollar amount) applicable to such Eligible Residual Contract and is equal to the
   positive remainder (or zero if the remainder is zero or less) of (i)the applicable Maximum RCR
   Amount, minus (ii) the positive remainder (or zero if the remainder is zero or less) of (A) the
   Eligible Residual Contract's Suggested MMR (as set forth on the Residual Contract Table) minus
   (B) the Eligible Residual Contract’s actual MMR.”
   5
     Under the 2017 Divisional Sales Manager Agreement, “‘Contract Sale’ means the direct or
   indirect sale, exchange or transfer of a Contract by Alder or its affiliates to a third party (other
   than a transfers to Alder or any of its affiliates) as determined by Alder in good faith.”
   6
     Under the 2017 Divisional Sales Manager Agreement, “‘Existing Divisional Contract’ means
   an Eligible
   Residual Contract personally generated by Divisional (taking into account of Section 6(c)) prior
   to the date hereof.”


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             Sale Share,7 over (2) the aggregate amount distributed to Divisional in respect of his
             Contract Participation in such Contract Sale; provided, in no event shall the Contingent
             Sale Residual in such Contract Sale exceed the applicable Maximum Contingent Sale
             Residual. Alder shall pay the Contingent Sale Residual due Divisional with respect to a
             Contract Sale within fifteen (15) days after receipt of the Net Sales Proceeds in such
             Contract Sale. Alder's payment of Contingent Sale Residual to Divisional shall be
             accompanied by a report computing the Contingent Sale Residual being paid and any
             Purchase Price Adjustments (as defined below) applicable thereto.

             Sale Residual [for Eligible Residual Contracts]. Subject to Section 6(b)(iii)(C), so long as
             Divisional is actively engaged in providing the Services or is subject to an Approved
             Absence, upon the occurrence of a Contract Sale of an Eligible Residual Contract
             personally generated by an Override Recruit, Alder shall pay Divisional out of the Net
             Sales Proceeds from such Contract Sale an amount (the “Override Sale Residual”) equal
             to the product of (1) Divisional’ s Override Residual for such Eligible Residual Contract,
             multiplied by (2) the MMR [monthly monitoring rates] multiple used to determine the
             sales price of such Eligible Residual Contract in such Contract Sale (e.g., 30X multiple).
             Alder shall pay the Override Sale Residual due Divisional with respect to a Contract Sale
             within fifteen (15) days after receipt of the Net Sales Proceeds in such Contract Sale.
             Alder's payment of Override Sale Residual to Divisional shall be accompanied by a
             report computing the Override Sale Residual being paid and any Purchase Price
             Adjustments applicable thereto.

             73.80. Each form of Residual compensation is subject to Alder’s “Sales Rules,” which

   “set forth certain deductions to the compensation that Divisional may receive, and which set

   forth certain fees that may be charged to Divisional.” Alder reserves the right to “modify, change

   or eliminate [the Sales Rules] from time to time upon one (1) business day’s notice.” [§ 1.]

             74.81. Notably, each form of Residual requires, as a condition of payment, that the sales

   representative be “actively engaged in providing the Services” or “subject to an Approved

   Absence.” Thus, the Residual compensation is structured to prevent sales representatives from


   7
     Under the 2017 Divisional Sales Manager Agreement, “‘Expected Sale Share’ means, with
   respect to a Contract Sale of an Existing Contract, the amount that would be distributed to
   Divisional in respect of his Contract Participation if all Net Sales Proceeds from such Contract
   Sale were distributed to the equity holders of Parent (including Contract Participants) in respect
   of their equity in Parent in accordance with the terms of the LLC
   Agreement.”

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   leaving Alder by requiring anyone who leaves to forfeit their hard-earned accrued compensation.

   [§ 6.]

             75.82. Within Alder, the Residuals described in the Agreements are commonly referred

   to as one’s “book of business.”

             76.83. In printed recruiting advertisements, verbal recruiting pitches, and post-recruiting

   intracompany discussions, Alder represents that a “book of business” is a fully vested form of

   compensation that a sales representative can “cash out” at any time. [See e.g. Ex. A.]

             77.84. However, as set forth above, the fine print of the Agreements provides that

   Residuals are forfeited upon departure from the Company.

             78.85. The forfeiture upon departure stands in stark contrast to the recruiting promises

   alleged above, including that “accounts you sell continue to generate value for you throughout

   their life.” [Ex. A.]

             79.86. Plaintiffs relied on the printed recruiting advertisements, verbal recruiting pitches,

   and post-recruiting intracompany discussions in entering and performing under their

   Agreements.

             80.87. Divisional managers are incentivized to defer compensation in order to build their

   Residual more quickly. Alder represents to its Divisional managers that by accepting a Residual-

   only compensation model with no monthly draw, they are building long-term wealth.

             81.88. For example, Mr. Ennis did not receive any cash compensation from Alder during

   the first eleven months he worked for the Company. In or about January of 2016, Connor

   Rockwood convinced Mr. Ennis to agree to a residual-only compensation plan with no monthly

   payments by showing him a wall with framed photos and statistics of sales representatives who


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   earned monthly residuals in the mid-to-high five-figure range. In addition, Mr. Rockwood

   assured Mr. Ennis that the display was old and that the top rep was currently bringing in over

   $165,000 per month in residual income. However, Mr. Ennis subsequently learned that all of

   these representations are false because most divisional managers earn $10,500 a month or less—

   with only three earning more. He also learned subsequently that the individual supposedly

   earning $165,000 per month was actually earning $20,000 per month.

             82.89. Similarly, because of misrepresentations made to Mr. Jesclard in 2011 of a similar

   nature as those made to Mr. Ennis, Mr. Jesclard didelected not to receive any cash compensation

   from Alder during the first ten months he worked for the Company.

             83.90. In many cases, Alder promises certain bonus incentives to sales representatives

   who meet certain performance goals. However, once the performance goals are met, Alder either

   reneges on the promises entirely or adds the requirement that the sales representatives must re-

   sign up for the following year in order to receive the incentives they were already earned.

             84.91. For example, Mr. Ennis’s team was promised a $75,000 bonus if they sold over

   2,000 accounts as a team. However, after the team sold 4,000 accounts, Alder refused to provide

   the bonus unless Mr. Ennis signed a new employment agreement with Alder. Mr. Ennis

   reluctantly signed the new employment agreement, but the $75,000 bonus was never paid.

             85.92. As another example, Connor Rockwood told Mr. Ennis that if his team hit their

   goals, Mr. Ennis would receive a $150 override on each account Mr. Ennis recruited, to be paid

   out in Mr. Ennis’s backend. However, even though the team met its goals, Mr. Ennis never

   received the $150 override on the 550 accounts that he sold.




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             86.93. As another example, Mr. McCartney, Mr. Kaufman, and Mr. Rockwood told Mr.

   Ennis in April of 2018 that if he installed 60 accounts per month, he would receive a monthly

   salary of $8,000. In May of 2018, Mr. Ennis sold 64 accounts. On June 5, 2018, Mr. Ennis

   emailed Mr. McCartney and Mr. Kaufman requesting a raise to $8,000 a month. Mr. McCartney

   emailed his approval in response. However, Mr. Ennis never received the $8,000 monthly salary.

        E.5.      Alder Uses a Flawed, Nontransparent System of Tracking and Calculating
           Sales Representatives’ Residual Compensation and Retaliates Against Those Who
           Ask Questions.that is Intentionally Designed to Hide Material Information and
           Provide a False, Inflated View of Residual Amounts

             87.94. Radix is Alder’sa “sales representative portal.”” that has been used by Alder for

   several years. According to the Agreements, Radix contains Alder’s Code of Conduct,

   Guidebook, Residual Sales Rules, and other policies. It also contains information regarding sales

   representatives’ account generation and Residuals.

             88.95. The account and sales information providedstored in Radix formsform the basis

   for commission and residual calculations.

             89.96. Throughout Plaintiff’s tenure with Alder, Kyle DeMordaunt repeatedly stated to

   Plaintiffs (and other sales representatives) that Radix was a reliable and available source of

   information regarding their “books of business.” Such statements were false; Radix was neither

   reliable nor consistently available.

             97.    Mr. Schanz and Mr. DeMordaunt both expressed orally to Mr. Summers their

   desire to restrict sales representatives’ visibility into their expenses and deductions in Radix and

   elsewhere, so that sales representatives would see an overstated residual amount.

             98.    Accordingly, Radix only displayed sales statistics and some but not all of the

   elements comprising a “book of business.” Radix omitted important elements of a “book of

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   business,” such as deductions, expenses, cash advances, and adjustments. This was by design, to

   induce sales representatives to continue working for Alder under the Residual compensation

   model based on a false understanding that they had accrued and were continuing to accrue a

   highly valuable “book of business.” Thus, each time Radix was accessed by sales

   representatives on their phones and other devices, information about Residuals that was false and

   misleading by omission was provided.

             90.99. Doug Kaufman, Vice President of Sales at Alder, admitted via text message to

   Mr. Vanleeuwen on October 9, 2018, that the residual information provided to sales

   representatives in Radix was incorrect. Mr. Kaufman made the same admission to Shawn

   Harding shortly before Mr. Harding resigned from Alder.

             91.100.           When sales representatives request account generation or Residual

   information that is more accurate than what Radix provides, their requests are ignored or refused,

   and the sales representatives often face retaliation.

             92.101.           For example, with respect to Mr. Vanleeuwen:

                   a.   On October 25, 2018, James Summers stated in an email to Mr. Vanleeuwen,

                        “There are no other reports outside of Radix with residual amounts.”

                   b. On October 26, 2018, Dane McCartney stated in an email to Mr. Vanleeuwen that

                        he should make his request for residual information again “after backends.”

                   c. On November 3, 2018, Mr. Vanleeuwen reiterated his request for “a

                        comprehensive breakdown of my current residual” to Mr. McCartney, Mr.

                        Summers, Mr. DeMordaunt, and one other individual at Alder. His email was

                        ignored.


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                   d. Mr. Vanleeuwen then followed up by text message on November 7, 2018, with

                       Doug Kaufman, who the next day provided the excuse that no one could provide

                       the requested information because the Company had “switched monitoring

                       companies.”

                   e. Mr. Vanleeuwen followed up by text message on November 13 and 14, 2018,

                       with Mr. Kaufman, who told him to be “a little more patient.”

                   f. In December of 2018, Mr. Vanleeuwen’s monthly payment amount was reduced.

                   g. In January of 2019, Alder filed four COJs against Mr. Vanleeuwen and terminated

                       his employment.

                   h. Mr. Vanleeuwen only received any information regarding his residualsResiduals

                       after Alder commenced legal action and Mr. Vanleeuwen retained legal counsel.

             93.102.          The other Plaintiffs had similar experiences of making multiple direct

   requests for financial and accounting information, which requests were ignored and refused.

   Occasionally, they were told not to worry about the accounting details because “Adam takes care

   of his big hitters.”

             94.       Alder provided “invested capital reports” to its sales representatives who elected

   residual compensation plans, as stated in an email from Jason Summers to Mr. Vanleeuwen on

   October 25, 2018. However, these reports were unreliable and difficult to understand.

             103.      On or about June 23, 2020, Mr. Summers wrote to Mr. Schanz, expressing

   concerns about the false, inflated representations that Mr. Schanz and others were making to

   sales representatives regarding their “books of business.” Mr. Schanz called Mr. Summers

   shortly thereafter and instructed him not to say those kinds of things over email so as not to


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   create a paper trail. The next day, Mr. Summers expressed criticism of Mr. Schanz’s practice of

   providing false and misleading information to sales representatives and asked Mr. Christian why

   he continues to defend and cover for Mr. Schanz. Mr. Christian responded, “Maybe it’s your

   time to go.”

             104.   One of Mr. Summers’ major projects at Alder was to oversee the development of

   a new DOMO reporting site. Mr. Summers’ goal for the project was to display all elements

   comprising a “book of business” so that sales representatives could have an accurate

   understanding of their Residuals. The DOMO project began at the end of 2019. The Residual

   portion of the project began in earnest in mid-2020.

             105.   To Mr. Summers’ dismay, Mr. Schanz and Mr. DeMordaunt instructed Mr.

   Summers to make the new DOMO site just as non-transparent as Radix. In or around July of

   2020, Mr. Schanz went to Mr. Summers’ office for a demonstration of the DOMO project. Mr.

   Summers loaded AJ Kilgore’s data as an example. The program showed Mr. Kilgore’s earnings,

   as well as his deductions, expenses, and adjustments. It showed that Mr. Kilgore’s Residual

   balance was a negative number, approximately -$45,500. Mr. Schanz did not like the fact that

   DOMO would display negative numbers to sales representatives and said this would “confuse

   the s*** out of guys.” Mr. Schanz told Mr. Summers to make revisions and then show it to him

   again.

             106.   The next day, Mr. Summers gave another demonstration to Mr. Schanz, Mr.

   DeMordaunt, Tim Larsen, and Pete Romney. Mr. Summers had set up filters so that Mr. Schanz

   could customize what information would be visible to sales representatives. Mr. Schanz and the

   other individuals expressed approval and excitement over being able to use the filters to provide


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   a false and inflated picture of residuals to sales representatives. With Mr. Schanz in charge of

   DOMO’s informational filters, DOMO provides information about Residuals that is false and

   misleading by omission each time it is accessed by sales representatives on their phones and

   other devices.

             95.107.      When Plaintiffs and other sales representatives have requested corrections

   to their account generation or Residual information, their requests have been ignored or refused,

   and the sales representatives have often faced retaliation.

             96.108.      For example, over a period of approximately two years, Mr. Ennis

   repeatedly requested approximately $15,000 in correctioncorrections to his accounts. The

   corrections were never made. When Mr. Ennis requested the changes directly from Mr. Schanz,

   Mr. Schanz responded in words to the following effect: “Shad you’re talking about pennies here!

   This is chump change! When you look at the big picture, these things don’t mean anything at all!

   So stop going and trying to make all of these changes to your book and put your head down and

   go to work.”

             97.109.      Mr. Schanz has a practice of responding to requests for Residual

   information with promises that the requester’s “book of business” is worth several million

   dollars. Such misrepresentations are made in an effort to pacify the requester and avoid follow-

   up requests. For example, Mr. Schanz represented to Mr. Vanleeuwen in or around December of

   2018 that his book of business was worth $3 million.

             98.110.      Alder hires an auditing firm to annually review Alder’s records and

   determine the “contractor receivable” for each sales representative as of the end of each calendar

   year. Alder then sends an email to each sales representative stating the “contractor receivable”


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   amount without any documentation or explanation as to how the amount was calculated, what it

   means, or how it relates to the sales representatives’ “book of business.”

             99.111.          The audit emails state that if the sales representative disagrees with the

   amount, they should furnish information to assist the auditors in reconciling the difference.

             100.112.         When a sales representative responds to the audit emails, they receive no

   response. For example, Mr. Vanleeuwen responded to the audit emails each year asking what the

   “contractor receivable” represented and received no response.

             113.      In 2020, Alder’s accounting records reflecting the Residual calculations for sales

   representatives’ “books of business” from 2015 to 2017 were somehow deleted. Mr. Summers

   notified Mr. Schanz that the information had been lost. Mr. Schanz instructed Mr. Summers to

   create accounting records for 2015 to 2017 out of whole cloth that would substantiate Alder’s

   financial statements.

             114.      Mr. Summers protested that Mr. Schanz was asking him to falsify accounting

   records. Mr. Schanz responded by stating that Mr. Summers’ share in Alder was worth $1.3

   million and increased Mr. Summer’s share valuation to $1.7 million a few weeks later. Mr.

   Summers refused to falsify the accounting records and was terminated a few weeks later, on

   September 14, 2020.

        6.         Alder Has Failed to Properly Compensate Plaintiffs and Claimants under the
                   Parties’ Agreements

             101.115.         Due to these and other improper accounting practices and Alder’s failure

   to followhonor the Agreements and the parties’ agreementsoral arguments, Alder has failed to

   pay Plaintiffs and Claimants the compensation owed to them, including Residuals, commissions,

   and bonuses, and has made improper deductions from their compensation.

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             102.116.    Alder has failed to pay Plaintiffs and Claimants their Monthly Residuals

   and Override Residuals on a consistent monthly basis and in the correct amounts, as required by

   the Agreements.

             103.117.    Alder has failed to provide Plaintiffs and Claimants with monthly reports

   computing the Monthly Residuals and Override Residuals and identifying their Eligible Residual

   Contracts, the Monthly Monitoring Rate actually collected on those contracts, and Residual

   Compensation Rate payable with respect to those contracts, all as required by the Agreements.

             104.118.    Alder has failed to pay all compensation owed to Plaintiffs and Claimants

   under the Agreements and otherwise, including commissions and bonuses, upon their

   termination.

             105.119.    Alder has not paid Plaintiffs and Claimants any Residuals or other

   compensation since their termination.

             106.120.    On information and belief, Alder has a practice of charging business

   expenses to the accounts of Divisional Managers in excess of what is permitted under the

   compensation agreements, while also claiming tax deductions for Alder for the same expenses,

   often with the purpose and result of reducing Plaintiffs and Claimants’ compensation to negative

   amounts.

        F.7.       Alder Created an Unlawful Equity Plan in 2017.

             107.121.    The Agreements indicate that “Simultaneous with, but contingent upon,

   the execution of this Agreement, Divisional is being granted a Contract Participation in Alder

   Protection Holdings, LLC, a Delaware limited liability company and parent of Alder, pursuant to

   that certain Notice of Award and accompanying Award Agreement dated as of even date


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   herewith, under the Alder Protection Holdings, LLC 2017 Residual Equity Plan.” (Abbreviations

   removed.)

             108.122.      In early 2017, Alder provided its Divisional Managers and other

   employees with a copy of the Residual Equity Plan (the “Plan”).

             109.123.      The Plan offers a security under federal and state law. The Plan provides

   “a certificate of interest or participation in a profit-sharing agreement,” an LLC interest, and an

   investment contract.

             124.   On information and belief, Alder has never registered these securities in

   accordance with federal and state law.

        8. Defendants Have Fraudulently Transferred Alder Accounts and Amounts Earned
           by Sales Representatives to Cove Smart, LLC and Other Companies Owned by Mr.
           Schanz and Other Individual Defendants

             125.   In recent years, Mr. Schanz has created several entities and initiatives, including

   Cove Smart, LLC (“Cove”), Pando Holdings, LLC (“Pando”), and others referred to as Luna,

   Boerbol, and Rhodesian.

             126.   Cove provides home security services in competition with Alder. Cove was

   registered in Delaware and in Utah in or around March of 2018.

             127.   Cove began selling the Alder Simple panel in or around 2018.

             128.   Cove employees now occupy approximately one half of the executive floor at

   Alder’s headquarters.

             129.   Although Cove purports to be a sister company of Alder, Cove attempts to

   undercut Alder by taking sales representatives and installers out of the equation and instead




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   allowing customers to purchase home security services online or in retail stores, with no

   contractual commitment for monitoring services and at lower monthly prices.

             130.   Mr. Summers has compared Alder’s customer list to Cove’s customer list and

   observed home security accounts sold by Alder sales representatives that had been transferred to

   Cove. He also observed Alder and Cove customers in the same neighborhoods, confirming that

   they are competitors.

             131.   As a result of the lower prices available through Cove, Alder customers have

   canceled or chosen not to renew their contracts with Alder and instead obtained less expensive,

   no-contract security services through Cove.

             132.   The result of the transfers from Alder to Cove is to deprive Alder sales

   representatives of residuals from the transferred accounts.

             133.   Mr. Schanz owns the majority of membership units in Cove, Pando, Luna,

   Boerbol, and Rhodesian.

             134.   Mr. Schanz has given some Cove units to high-level Alder employees (including,

   on information and belief, some or all of the Individual Defendants) with the apparent purpose of

   preventing these employees from raising concerns about conflicts of interest.

             135.   In order to reduce the price point of its home security services and maintain

   profitability, Cove relies upon a discounted signal forwarding company (monitoring service),

   compared with the traditional signal forwarding company (monitoring service) that Alder had

   been historically using.




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             136.     Security accounts that rely on Alder’s discounted signal forwarding company

   have a lower price point (acquisition multiple) at resale than security accounts that rely on the

   traditional signal forwarding company.

             137.     In or around 2018, Alder built its Simple panel to run exclusively on the signal

   forwarding company that offered the lowest cost. The Simple panel has been used for both Alder

   accounts and Cove accounts since 2018.

             138.     There is very limited marketability for security accounts on Alder’s Simple panel

   that uses the discounted signal forwarder.

             139.     If Alder ultimately sells its security accounts that rely on the Simple panel (which

   is doubtful), it will not be able to obtain the 50x multiple that has been promised to sales

   representatives (or the 45x or 55x multiples that have also been promised).

             140.     The decrease in marketability of accounts due to Alder’s signal forwarder

   selection has not been disclosed to sales representatives. To the contrary, Alder continues to

   represent that sales representatives can expect a 50x multiple (or 45x or 55x multiple) when

   Alder sells its accounts to a third party.

             141.     Defendants have unjustly enriched themselves by transferring value from Alder to

   Cove and the other entities Mr. Schanz and other Individual Defendants own. For example:

                   a. Defendants have taken out loans, from publicly traded institutions, to finance

                      Cove and other entities and has collateralized these loans using Alder’s assets,

                      including the customer accounts owned in part by Alder sales representatives and

                      the promissory notes signed by Alder sales representatives. Because of these

                      loans, if Alder were to ever sell its home security accounts to a third party, much


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                      of the proceeds would have been used to satisfy the debt collateralized on the

                      home security accounts and the promissory notes. Very little would be left for

                      sales representatives.

                   b. The loans taken out by Defendants for the benefit of these other entities were also

                      collateralized and/or secured at least in part with Notes from Alder sales

                      representatives. On information and belief, Alder did not inform its lenders that

                      the Notes were for fictitious loans in arbitrary amounts and were therefore of

                      questionable validity and enforceability, at best.

                   c. On information and belief, the development of the Simple panel was financed

                      with revenue from Alder accounts. However, the Simple panel is now owned by

                      Luna, which, on information and belief, is owned in whole or in part by Mr.

                      Schanz and/or other Individual Defendants.

                   d. On information and belief, the real property where Alder’s headquarters are

                      located was placed in the name of Boerbol, whose parent is Rhodesian. On

                      information and belief, this is yet another way by which Mr. Schanz and/or other

                      Individual Defendants are siphoning money from Alder accounts to enrich

                      separate entities owned by them.

                   e. On information and belief, Alder’s CRM was developed using financing and

                      revenue from Alder accounts but was then placed in a separate entity called

                      Pando, of which Mr. Schanz is believed to be the majority owner. On information

                      and belief, Pando has not repaid the financing from Alder nor compensated Alder

                      for the value of the CRM system.


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                   f. Alder assigned its software developers to perform work for Pando. On

                      information and belief, Pando has not compensated Alder for these software

                      development services.

                         COLLECTIVE AND CLASS ACTION ALLEGATIONS

             110.142.        Plaintiffs incorporate the preceding paragraphs by reference.

             111.143.        Plaintiffs bring this action individually and as collective and class actions

   on behalf of Claimants, including all persons who are, or have been, employed by Alder as sales

   representatives within the applicable statutory period, and who, by means of the practices set

   forth above, failed to receive compensation owed to them or were otherwise harmed by Alder’s

   tortious actions.

             112.144.        Alder’s officers and directors are excluded from the Class.

                                 Collective Action Allegations: FLSA Claim

             113.145.        Plaintiffs seek certification on behalf of all Claimants of a collective

   action and the facilitation of notice to similarly situated employees. 29 U.S.C. § 216(b).

             114.146.        The FLSA requires employees to receive minimum wage and overtime

   compensation for workweeks at the regular payday for the period in which the workweek ends.

   29 C.F.R. § 790.21(b). Minimum wage and overtime earned in a particular workweek must be

   paid on the regular payday for the period in which such workweek ends. 29 C.F.R. § 778.106.

             115.147.        The FLSA requires employers to pay hourly employees at least minimum

   wage for all hours worked and one and one-half (1.5) the employee’s regular rate of pay for all

   overtime hours worked in excess of 40 hours in a single workweek. 29 U.S.C. §§ 206 and 207.




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             116.148.     Employers have the burden to show that their employees qualify for an

   FLSA exemption from minimum wage and overtime requirements.

             117.149.     Employers who classify employees as exempt from minimum wage and

   overtime under the executive, professional or administrative exemptions must meet the salary

   basis test and must actually compensate their employees. Moreover, employers who classify

   employees as exempt under the Outside Sales Exemption must comply with minimum wage and

   overtime requirements while the employees are in training.

             118.150.     Employers who classify employees as exempt from minimum wage and

   overtime under the outside sales exemption must treat their employees in the manner that outside

   sales employees are generally treated, including by rewarding them for their sales efforts through

   commissions and otherwise with high compensation.

             119.151.     The members of the proposed FLSA Class would benefit from the

   issuance of a court supervised notice of the present lawsuit and the opportunity to join the

   present lawsuit as party plaintiffs (by filing written consent with the Court, pursuant to 29 U.S.C.

   § 216(b)).

             120.152.     The members of the proposed FLSA Class are known to Alder, are

   readily identifiable, and can be located through Alder’s records.

             121.153.     Pursuant to 29 U.S.C. § 216(b), Plaintiffs have submitted or will shortly

   submit their written consents to serve as party plaintiffs and to join the proposed FLSA Class.

                              Class Action Allegations for Other Claims




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             122.154.     The other statutory and common law claims may properly be maintained

   as a Class Action under Rule 23 of the Federal Rules of Civil Procedure because there is a well-

   defined community of interest in the litigation and the proposed class is easily ascertainable.

             123.155.     The requirements of Rule 23 are satisfied, as set forth in the following

   paragraphs.

             124.156.     Numerosity: The total number of members of the proposed Utah state

   law class likely exceeds 3005,000 individuals. The members of the class are so numerous that

   joinder of all members is impractical, and a class action is the only available method for the fair,

   equitable, and efficient adjudication of this controversy.

             125.157.     Commonality: There are common questions and issues of fact and law

   which predominate over any issues solely affecting individual members; specifically, whether

   Defendants, failed to pay compensation owed to the Plaintiffs and Claimants, fraudulently

   induced Plaintiffs to enter void or voidable contracts, committed securities violationsfraud, and

   committed the other torts alleged herein.

             126.158.     Typicality: The Plaintiffs’ claims are typical of the claims of the

   proposed Class, in that each of these allegations pertains to Defendants’ Company-wide policies

   and practices, not to their anecdotal treatment of individuals.

             127.159.     Superiority of Class Action: Since the damages suffered by members of

   the proposed Class (although not inconsequential) may be relatively small, the expense and

   burden of individual litigation by each member will likely make it impractical for the Class

   members to individually seek redress for the wrongful conduct alleged herein. Moreover,

   separate actions by each individual member of the proposed Class, and the resulting multiplicity


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   of lawsuits, would cause undue hardship and expense for the Court and the litigants. Finally, the

   prosecution of separate actions would also create a risk of inconsistent rulings.

             128.160.     Adequacy: The Plaintiffs in this class action are adequate representatives

   of the proposed Class, since the Plaintiffs’ claims are identical to those of the proposed Class,

   and thus, the Plaintiffs have the same interests in this litigation as the members of the proposed

   Class. The Plaintiffs are committed to vigorous prosecution of this case, and have retained

   competent counsel who are experienced in litigation of this nature. The Plaintiffs are not subject

   to any individual defenses unique from those conceivably applicable to the Class as a whole. The

   Plaintiffs anticipate no management difficulties in this litigation.

             129.161.     Notice to the Proposed Class: The members of the proposed Class

   would benefit from the issuance of a court-supervised notice of the present lawsuit. The

   members of the proposed Class are known to Alder, are readily identifiable, and can be located

   through Alder’s records. The notice to the proposed class members will include an introduction,

   a short description of the lawsuit including Plaintiffs’ claims and Defendants’ response to those

   claims, information on how to opt out of the lawsuit, a section informing potential class members

   that retaliation is not permitted if they are currently employed by Defendants, the effect of opting

   out of the lawsuit, and contact information for the class’s counsel for any questions they may

   have, as well as a notice that this case is on a contingency fee with an explanation of what that

   entails and the amount to which the class’s counsel is entitled if successful. Along with the

   notice, we will attach an “Opt In” form for potential class members who choose to out into the

   FLSA Collective Action and an “Opt Out” form for potential class members who choose to opt

   out of the Class Action claims.


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                                      FIRST CAUSE OF ACTION

       VIOLATION OF THE FAIR LABOR STANDARDS ACT OF 1938, 29 U.S.C. § 201,
                et. seq. (Failure to Pay Minimum and/or Overtime Wage)

                                             (All Defendants)

             130.162.       Plaintiffs incorporate the preceding paragraphs by reference.

             131.163.       The FLSA regulates the payment of wages by employers whose

   employees are “engaged in commerce or engaged in the production of goods for commerce, or is

   employed in an enterprise engaged in commerce or in the production of goods for commerce.”

   29 U.S.C. § 207(a)(1).

             132.164.       Alder, Mr. Schanz, Mr. Christian, Mr. DeMordaunt, and Mr. McCartney

   are each employers within the meaning of 29 U.S.C. § 203.

             133.165.       Defendants are required to adhere to the minimum and overtime pay

   requirements of the FLSA because Alder is an enterprise engaged in commerce and all of its

   employees are engaged in commerce.

             134.166.       The practices described above in paragraphs 36-64, 74-75, 78, 81-87, and

   102-107, including but not limited to employee misclassification, failure to pay minimum wage

   and overtime during training time, and the withholding and claw back of earned compensation,

   are company-wide practices that applied to sales representatives nationwide. See paragraphs 23,

   27, 41-70, 80-81, 84, 87-93, and 115-120, among others. These practices caused the Plaintiffs

   and proposed FLSA Class members to be deprived of regular and overtime pay.

             135.167.       Plaintiffs and members of the proposed FLSA Class typically worked

   more than 40 hours per week; thus, much of the uncompensated work performed by the sales

   representatives was subject to overtime compensation.

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             136.168.     In withholding and clawing back the wages of Plaintiffs and members of

   the proposed FLSA Class, Defendants caused and/or attempted to case these employees’

   earnings to fall below minimum wage.

             137.169.     Defendants acted neither in good faith nor with reasonable grounds to

   believe that its actions and omissions were not a violation of the FLSA.

             138.170.     Plaintiffs and members of the proposed FLSA Class are entitled to the

   amount of unpaid regular and overtime wages beginning three years prior to the filing of this

   Complaint because Defendants acted knowingly and willfully and/or showed reckless disregard

   as to whether their conduct was prohibited by the FLSA.

             139.171.     Plaintiffs and members of the proposed FLSA Class are entitled to recover

   the amount of unpaid regular and overtime wages and an award of liquidated damages equal to

   the same amount, as described by section 16(b) of the FLSA, codified at 29 U.S.C. § 216(b).

   Plaintiffs and members of the proposed FLSA Class are also entitled to an award of prejudgment

   interest and attorneys’ fees and costs.

                                    SECOND CAUSE OF ACTION

                    VIOLATION OF THE UTAH PAYMENT OF WAGES ACT,
                               UTAH CODE § 34-28-1, et seq.

                                             (All Defendants)

             140.172.     Plaintiffs incorporate the preceding paragraphs by reference.

             141.173.     Alder, Mr. Schanz, Mr. Christian, Mr. DeMordaunt, and Mr. McCartney

   are each employers within the meaning of Utah Code Ann. § 34-28-2 and 29 U.S.C. § 203.




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             142.174.     Defendants, in violation of UPWA, failed to pay wages to Plaintiffs and

   the members of the proposed Class by means of the practices described above, including in

   paragraphs 63-64, 78, 81-84, 87, 102-10693, 115-120.

             143.175.     In further violation of the UPWA, Defendants required Plaintiffs to return

   part or all of their wage, salary, or compensation through enforcement of the Notes and COJs as

   set forth above, including in paragraphs 36-62, 74-7541-68, 80-81, and 107141.

             144.176.     As a direct and proximate result of Defendants’ violations of the

   UPWA, as set forth herein, Plaintiffs have sustained damages, including loss of earnings for

   hours of regular time worked for Alder and/or for contractually based earnings, in an amount to

   be established at trial, in excess of $10,000 in the aggregate.

             145.177.     Defendants have not acted in good faith nor with reasonable grounds to

   believe that their actions and omissions were not in violation of the UPWA.

             146.178.     Plaintiffs and Claimants are entitled to recover an award of liquidated

   damages in an amount equal to the amount of unpaid wages under the UPWA. Plaintiffs and

   Claimants are also entitled to statutory damages pursuant to § 34-28-9.5(3)(b) and to an award of

   prejudgment interest and attorneys’ fees and costs.

                                     THIRD CAUSE OF ACTION
                                      BREACH OF CONTRACT
                                                  (Alder)
             147.179.     Plaintiffs incorporate the preceding paragraphs by reference.

             148.180.     The parties’ written and oral agreements obligated Alder to make certain

   commission and other payments to Plaintiffs and Claimants. See paragraphs 65-66 and 70-73.



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             149.181.     Plaintiffs and Claimants fulfilled their obligations to Alder under the

   agreements, chiefly by providing sales representation services to Alder.

             150.182.     Alder has breached its obligations to Plaintiffs and Claimants by, among

   other things, failing to pay commissions; failing to pay Monthly Residuals; failing to provide

   monthly reports computing the Monthly Residuals and detailing the Eligible Residual Contracts,

   the MMR actually collected thereon, and the RCR payable with respect thereto; failing to pay

   Override Residuals; and failing to provide monthly reports computing the Override Residuals.

   See paragraphs 102-106115-120.

             151.183.     Plaintiffs and Claimants have been harmed by Alder’s failure to pay

   commissions and other amounts owed to them and are entitled to damages in the form of the

   unpaid amounts, plus interest. Plaintiffs and Claimants are also entitled to attorney fees and

   costs.

                                   FOURTH CAUSE OF ACTION
             BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING
                                                 (Alder)
             152.184.     Plaintiffs incorporate the preceding paragraphs by reference.

             153.185.     The parties’ written and oral agreements provided for Plaintiffs and

   Claimants to earn commissions and other payments through their work for Alder.

             154.186.     Alder took improper actions with the purpose of preventing Plaintiffs and

   Claimants from receiving and/or retaining compensation for work performed under their

   agreements with Alder, including, without limitation, (1) by charging fees and deducting from

   Plaintiffs’ and Claimants’ compensation to reduce their compensation, often to a negative

   amount (see e.g. paragraphs 60-63, 74,65-67 and 107120), (2) by failing to provide transparent

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   accounting (see e.g. paragraphs 8-107), and94-114), (3) by inducing Plaintiffs and Claimants to

   defer large amounts of compensation, knowing that the parties’ agreement limited Alder’s

   liability to such amounts earned in the previous twelve months and otherwise limited remedies

   against Alder, and knowing that Plaintiffs and Claimants would forego their entitlement to future

   payments under the agreement if they quit (see paragraphs 68, 72, 75, 78-83),e.g. paragraphs 74,

   78, 81, 84-89), and (4) by permitting Alder customers and resources to be transferred without

   value or without adequate value to third-party entities owned in whole or in part by Mr. Schanz,

   depriving sales representatives of Residual compensation under the Agreements (see e.g.

   paragraphs 125-41). Alder thus denied to Plaintiffs and Claimants the fruits of their agreements

   with Alder.

             187.   Plaintiffs and Claimants have been harmed by Alder’s failure to pay commissions

   and other payments owed to them and are entitled to damages in the form of the unpaid amounts,

   plus interest. Plaintiffs and Claimants are also entitled to attorney fees and costs.

                                     FIFTH CAUSE OF ACTION
    VIOLATION OF UTAH SALES REPRESENTATIVE COMMISSION PAYMENT ACT
                        UTAH CODE § 34-44-101, et seq.

                                                  (Alder)
             155.188.      Plaintiffs incorporate the preceding paragraphs by reference.

             156.189.      Plaintiffs and Claimants are sales representatives who solicit orders for

   Alder’s products and/or services and are compensated in whole or in part by commission.

             157.190.      Alder, is a principal within the meaning of Utah Code Ann. § 34-44-102.




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             158.191.     The parties’ written and oral agreements obligated Alder to pay Residuals

   and certain other commissions to Plaintiffs and Claimants, which Alder failed to pay. See e.g.

   paragraphs 65-66, 70-7371-72, 76-79, and 102-106115-120.

             159.192.     Alder has breached these agreements and violated Utah Code § 34-44-

   202(1) by failing to pay Residuals and other commissions owed to Plaintiffs and Claimants.

             160.193.     Alder has further violated Utah Code § 34-44-202(2) by failing to pay all

   outstanding amounts owed within 30 days of their termination for amounts owing on the date of

   termination and within 14 days for amounts becoming due after the date of termination. See e.g.

   paragraph 105 and 106119.

             161.194.     Alder also violated Utah Code § 34-44-201(3) by refusing to provide

   Plaintiffs and Claimants with a copy of their written agreements with Alder. See e.g. paragraph

   6773.

             162.195.     Plaintiffs and Claimants have been harmed by Alder’s various breaches of

   this statute and are entitled to damages in the form of the three times the unpaid amounts, plus

   interest. Plaintiffs and Claimants are also entitled to attorney fees and costs pursuant to Utah

   Code Section 34-44-301.

                                     SIXTH CAUSE OF ACTION

                        (COMMON LAW FRAUDULENT INDUCEMENT)
                           (FLSA RETALIATION, 29 U.S.C. § 215(a)(3))

                                            (All Defendants)


             163.196.     Plaintiffs incorporate the preceding paragraphs by reference.




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             164.     Plaintiffs and Claimants made numerous oral and written complaints and inquiries

   to Defendants regarding Alder’s failure to pay compensation owed to them. See paragraphs 92-

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             165.     As demonstrated by Mr. Vanleeuwen’s example (see paragraph 93), Defendants

   retaliated against those who complained, including by decreasing or cutting off their monthly

   payments, terminating their employment, and filing COJs against them.

             166.     As a result of Defendants’ unlawful retaliation, Plaintiffs and Claimants have

   been harmed and are entitled to back pay, front pay, liquidated damages (equal to the amount of

   lost wages), and attorney fees.

                                       SEVENTH CAUSE OF ACTION

                            (COMMON LAW FRAUDULENT INDUCEMENT)
             167.     Plaintiffs incorporate the preceding paragraphs by reference.

             168.197.         Defendants had a policy and practice of inducing Plaintiffs and Claimants

   to sign the Notes and the COJs and written Agreements through representations that were false

   and/or misleading by omission. These misrepresentations included but were not limited to:

                   a. That the Promissory Notes and COJs were standard employee onboarding forms.

                      See paragraph 3742.

                   b. That the sales representatives would have a vested ownership in the residuals

                      earned under the Agreements. See paragraphs 18, 30-35, 83.

                   b.c. That the sales representatives would profit at the time their security accounts were

                      sold by Alder to a third party for a 50x multiple, regardless of when the sale

                      occurred. See paragraphs 30-35.That compensation reported to the IRS on 1099



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                      forms was income to Plaintiffs and Claimants that was fully earned. See

                      paragraphs 5156 and 5257.

                   c.d. That the sales representatives’ own “books of business” were worth extremely

                      large amounts. See paragraphs 30, 34-36, and 98109.

                   d.e. That sales representatives from prior sales seasons were earning amounts far in

                      excess of their actual income. See paragraphs 29, 3331, 35, and 8288.

                   e.f. That Alder was entitled to withhold amounts previously earned by Plaintiffs if

                      they chose to not sign the Notes and COJs. See paragraphs 38-4143-46.

             169.198.         These misrepresentations were material to Plaintiffs’ and Claimants’

   decision to either work or continue to work for Alder and to execute the various Notes and COJs

   that were presented to them throughout the course of their relationship with Alder. Plaintiffs and

   Claimants relied on these misrepresentations in executing the Notes and COJs.

             170.199.         Alder and the Individual Defendants knew the misrepresentations were

   false and misleading at the time they were made and made them with intent to fraudulently

   induce Plaintiffs and Claimants to sign the Notes and COJs.

             171.200.         Plaintiffs and Claimants seek rescission of the Notes and COJs, as well as

   attorney fees and costs.

             172.201.         Plaintiffs and Claimants are also entitled to punitive damages because

   Defendants engaged in these fraudulent actions in an intentional, willful, and malicious manner,

   and in knowing and reckless disregard of the rights of Plaintiffs and Claimants.

                                 EIGHTHSEVENTH CAUSE OF ACTION

                                         (COMMON LAW FRAUD)


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                                               (All Defendants)
             173.202.         Plaintiffs incorporate the preceding paragraphs by reference.

             174.203.         Defendants had a policy and practice of inducing Plaintiffs and Claimants

   to provide Alder with uncompensated or undercompensated services through representations that

   were false and/or misleading by omission.

             175.204.         Defendants’ misrepresentations included but were not limited to:

                   a. Statements in recruiting brochures and other advertising and recruiting materials

                      that Alder’s Residual compensation plan was designed to enable Plaintiffs and

                      Claimants to build long-term wealth. See e.g. paragraphs 27, 28, 30-3429-36,

                      Exhibit A.

                   b. Statements by Adam Schanz and other executives that the sales representatives’

                      own “books of business” were worth large amounts, up to millions of dollars. See

                      e.g. paragraphs 30, 3432, 36, and 98109.

                   c. Statements in recruiting brochures and other advertising and recruiting materials

                      that sales representatives from prior sales seasons were earning amounts far in

                      excess of their actual income. See e.g. paragraphs 29, 3331, 35, and 8288.

                   d. Statements in 1099 forms that compensation was income to Plaintiffs and

                      Claimants that was fully earned. SeeSe e.g.e paragraphs 5156 and 5257.

                   e. Statements that by deferring upfront compensation under Alder’s Residual

                      compensation plan, Plaintiffs and Claimants would earn more money overall. See

                      e.g. paragraphs 27, 2829, 30-, 32, 81-83-34, 87-89.




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             176.205.         The material information that Defendants withheld and concealed from

   Plaintiffs and Claimants included but was not limited to:

                   a. That all monthly and other payments made to Plaintiffs and Claimants were

                      subject to claw back under the Notes and COJs. See e.g. paragraphs 36, 43, 45-

                      4741, 48, 50-52, 55, and 60-6265-67.

                   b. That all “books of business” and Residuals were subject to forfeiture upon

                      Plaintiffs’ and Claimants’ termination of their relationship with Alder. See e.g.

                      paragraphs 75-7981-85.

                   c. That all estimates of the value of Plaintiffs and Claimants’ “books of business”

                      were based on a hypothetical valuation if Alder were to find a buyer of its

                      accounts and that the buyer paid a competitive multiple for each account. See e.g.

                      paragraph 3436.

             177.206.         That Alder customers and resources were being diverted without value or

   without adequate value to third-party entities owned in whole or in part by Mr. Schanz, depriving

   sales representatives of Residual compensation (see e.g. paragraphs 125-41). Alder and the

   Individual Defendants knew the misrepresentations and omissions were false and misleading at

   the time they were made.

             178.207.         Defendants intended for Plaintiffs and Claimants to rely on these

   misrepresentations and omissions in deciding to work for Alder, in agreeing to Residual-based

   compensation plans (including the 2017 Residual Equity Plan), and in executing the Agreements,

   Notes, and COJs. Ultimately, Defendants’ goal was to exploit Plaintiffs and Claimants by

   fraudulently inducing them to work for little or no compensation.


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             179.208.         Defendants’ misrepresentations and omissions were material to and were

   relied on by Plaintiffs and Claimants with respect to their decisions to work for Alder, to agree to

   Residual-based compensation plans (including the 2017 Residual Equity Plan), and to execute

   the Agreements, Notes, and COJs.

             180.209.         In most cases, the amount stated in the Notes and COJs did not correspond

   to any compensation, loan, advance or other cash amount provided to Plaintiffs and Claimants by

   Defendants.

             181.210.         To the extent the amount stated in the Notes or COJs did correspond to

   actual payments by Defendants, the amount had been reported as income on 1099 forms,

   triggering Plaintiffs’ and Claimants’ obligation to pay income taxes on the amount. Defendants

   later filed COJs to recover these amounts, claiming they were loans or advances.

             182.211.         The Divisional managersPlaintiffs and Claimants – particularly those who

   deferred their compensation – realized too late that they were not building long-term wealth

   because their Residuals were forfeited as soon as they left Alder.

             183.212.         Plaintiffs and Claimants have been harmed by Defendants’ fraudulent acts

   and are entitled to actual damages, including but not limited to:

                   a. The amount of the income taxes that Plaintiffs and Claimants paid on supposed

                      income reported on 1099 forms that Defendants subsequently collected or

                      attempted to collect as loans;

                   b. The attorney fees and costs expended in opposing the COJs (in other actions);

                   c. The amount of any judgments paid based on the Notes and COJs (in other

                      actions);


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                   d. The Residuals or “books of business” that Plaintiffs and Claimants were promised

                      as part of Alder’s fraudulent scheme but purportedly forfeited by resigning or

                      being terminated by Alder; and

                   e. Disgorgement of Alder’s profits resulting from its fraudulent scheme to induce

                      Plaintiffs and Claimants to provide Alder with uncompensated or

                      undercompensated services.

             184.213.         Plaintiffs and Claimants are also entitled to punitive damages because

   Defendants engaged in these fraudulent actions in an intentional, willful, and malicious manner,

   and in knowing and reckless disregard of the rights of Plaintiffs and Claimants.

             185.214.         Plaintiffs and Claimants are also entitled to attorney fees and costs.

                                        NINTH CAUSE OF ACTION

                                       EIGHTH CAUSE OF ACTION

   (SECURITIES FRAUD, Utah Code § 61-1-1, et seq. and Section 10(b) of Thethe Exchange
                              Act and Rule 10b-5)
                                                (All Defendants)
             186.215.         Plaintiffs incorporate the preceding paragraphs by reference.

             187.216.         The Residual equity ownershipResiduals are an interest in future revenue

   streams from customer accounts and are therefore “securities” under Utah and federal law. The

   LLC equity interests offered in the Alder Equity Plan are also “securities” under Utah and

   federal law. These interests are referred to collectively as the “Securities.”

             188.217.         The Securities constitute “a certificate of interest or participation in a

   profit-sharing agreement,” an LLC interest, and an investment contract.




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             189.218.         In connection with the offer and sale of these Securities to Plaintiffs and

   Claimants, Defendants directly and indirectly:

                   a. employed a device, scheme, or artifice to defraud;

                   b. made untrue statements of material fact and omitted to state material facts

                      necessary in order to make the statements made, in light of the circumstances

                      under which they were made, not misleading; and

                   c. engaged in acts, practices and courses of business which operated as a fraud or

                      deceit upon Plaintiffs.

             190.219.         As set forth in the preceding cause of action, Defendants engaged in a

   fraudulent scheme and made misrepresentations, omissions and/or misleading statements to

   Plaintiffs and Claimants, which included inducing them to work in exchange for Defendants’

   offer and/or transfer to Plaintiffs and Claimants of the Securities. Those allegations are

   incorporated here.

             220.     In addition, specifically with respect to the Residual Securities and in order to

   create a false impression of the inflated value of the Residual Securities, Mr. Schanz and Mr.

   DeMordaunt instructed Mr. Summers to withhold material information from sales

   representatives regarding the value of their Residuals, such as deductions, expenses, cash

   advances, and adjustments in order present a false and inflated view of the value of the Residuals

   and thereby induce Plaintiffs and Claimants to continue providing services to Alder in exchange

   for the Residuals. See paragraphs 38, 97, 98, and 105. Mr. Summers had previously been

   providing Invested Capital Reports with such information to sales representatives upon request.

   See paragraph 38.


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             221.   Consistent with such direction, Mr. Summers stopped providing Invested Capital

   Reports to sales representatives in 2018. See paragraph 38. Thereafter, Plaintiffs’ and Claimants’

   requests for this information were ignored or refused. See e.g. paragraphs 100-102. Instead, Mr.

   Schanz and others provided false, inflated statements of the value of Plaintiffs’ and Claimants’

   Residual Securities. See e.g. paragraphs 36, 37, 39, 102, 109.

             222.   Also consistent with direction from Mr. Schanz and Mr. DeMordaunt, Radix and

   DOMO were intentionally designed to mislead sales representatives into believing that their

   Residuals were more valuable than they actually were in order to induce sales representatives to

   continue working for Alder under the Residual compensation model. See paragraphs 37, 97, 98,

   and 105-06.

             223.   Each time Radix and DOMO were accessed by sales representatives on their

   phones and other devices, information about Residuals that was false and misleading by

   omission was provided to sales representatives by Alder. See paragraphs 98 and 106.On

   information and belief, such fraud is continuing to this day.

             224.   During his tenure with Alder, Mr. Summers repeatedly pleaded with Mr. Schanz,

   Mr. DeMordaunt, and Mr. McCartney to provide full and accurate information to the sales

   representatives regarding their Residual Securities and to stop providing information that was

   false and misleading by omission. See, e.g., paragraphs 38-39, 103, 105.

             225.   For example, Mr. Summers had these conversations with Mr. Schanz and Mr.

   DeMordaunt in the summer of 2020, when Mr. Summers was overseeing the design of the

   DOMO reporting site. Mr. Summers’ goal for the project was to display all elements comprising

   the “book of business,” so that sales representatives would have an accurate view of their


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   Residual Securities. See paragraph 104. Mr. Schanz and Mr. DeMordaunt preferred to use filters

   to omit material information from the DOMO site so that sales representatives would see only

   their sales statistics and not the deductions, expenses, cash advances, and adjustments that

   significantly reduced the value of their “book of business.” See paragraph 105-06.

             226.   The false and misleading misrepresentations and omissions in Radix and DOMO

   were a continuation of the fraud that began with Alder’s recruiting of the sales representatives

   when they were given false and inflated earnings forecasts based on false information regarding

   the earnings of other sales representatives. See paragraphs 28-35.

             227.   As an example of false and misleading information and omissions being used to

   convince a sales representative to continue providing services to Alder under the Residual model,

   in or around July 2020, Mr. Summers observed Mr. McCartney personally provide false

   information to sales representative AJ Kilgore regarding the value of his “book of business.” See

   paragraph 39. Specifically, Mr. McCartney used a formula consisting of the product of some

   arbitrary monthly revenue amount and a 50x acquisition multiple less a debt amount. See id. Mr.

   McCartney’s representation gave Mr. Kilgore a false and inflated view of the “equity” associated

   with his “book of business.” See id. Mr. McCartney provided his assurance of “equity” to

   convince Mr. Kilgore to continue selling for Alder under the Residual compensation model. See

   id. Mr. Summers was incensed because he had recently told Mr. McCartney to stop using sales

   statistics (apart from deductions, expenses, cash advances, and adjustments) to communicate to

   sales representatives the value of their Residual Securities. See id.

             191.228.      At the time of these above-described misrepresentations and omissions,

   Plaintiffs and Claimants were ignorant of their falsity, and reasonably believed themDefendants’


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   representations, including the incomplete and misleading misrepresentations regarding the value

   of their Residuals, to be true.

             192.229.      The omitted and/or misrepresented information was material in that it

   greatly impacted Plaintiffs’ and Claimants’ decision to enter into either begin working or

   continue working for Alder under the Residual-based compensation agreementsAgreements

   (including the 2017 Residual Equity Plan) with Defendants.).

             193.230.      Defendants had an affirmative duty to fully and accurately disclose the

   omitted facts to Plaintiffs, including a full and accurate calculation of their respective Residuals,

   because and to the extent: (a) Defendants AdamMr. Schanz, AdamMr. Christian, KyleMr.

   DeMordaunt, Daneand Mr. McCartney, and/or one or more Doe Defendants were corporate

   officers and/or other “insiders” in Alder with access to and possession of this information; (b) the

   omitted facts were obviously material to Plaintiffs’ and Claimants’ and/or any reasonable

   person’s decision in selecting and remaining in a compensation plan; (c) Defendants had

   fiduciary and/or contractual relationships and duties to Plaintiffs arising from Plaintiffs’ status as

   employees/agents and equity holders in Alder accounts; (d) such disclosure is necessary to

   correct Defendants’ inaccurate, incomplete and/or misleading prior disclosures to Plaintiffs and

   Claimants regarding the residualResidual compensation plans and resulting income to sales

   representatives; and/or (e) other factors to be determined at trial.

             194.231.      Defendants made the above-described materially false and misleading

   representations and omissions for the purpose of furthering their fraudulent scheme and/or to

   induce Plaintiffs to enter into and remain in Residual-based compensation

   agreementsAgreements.


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             195.232.      Defendants’ misrepresentations, misleading statements, and omissions of

   material fact were made with scienter in that they were known to be willfully, intentionally,

   knowingly and/or recklessly false when made.

             233.   Scienter is evident from Mr. Summers’ numerous attempts to persuade Mr.

   Schanz, Mr. DeMordaunt, and Mr. McCartney to stop providing misleading information and to

   allow him to provide full and complete information regarding sales representatives’ Residual

   Securities. See, e.g., paragraphs 38-39, 103, 105. Scienter is also evident from Mr. Schanz’s

   statement that information should be withheld from sales representatives because it led them to

   ask too many questions about why their Residual balance was so low, see paragraph 38, by Mr.

   Schanz’s and Mr. DeMordaunt’s expressed desire to restrict visibility into expenses and

   deductions in order to overstate the value of Residual Securities, see paragraph 97; by Mr.

   McCartney’s knowingly false representations to AJ Kilgore made after Mr. Summers specifically

   instructed him not to use sales statistics alone as a basis for representing the value of a “book of

   business,” see paragraphs 39; by Mr. Schanz’s rejection of Mr. Summers’ transparent DOMO

   set-up and preference for using filters to hide expenses, deductions, advances, and adjustments

   from the DOMO display available to sales representatives, see paragraphs 105-06; and by Mr.

   Christian’s statement that if Mr. Summers was becoming too critical of Mr. Schanz’s practice of

   misrepresenting Residual information to sales representatives, perhaps it was his time to go, see

   paragraph 103.

             196.234.      By virtue of the foregoing, Defendants willfully, intentionally, knowingly

   and/or recklessly violated the Utah Uniform Securities Act, Utah Code Ann. § 61-1-1, as well as

   Section 10(b) of The Exchange Act and Rule 10b-5.


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             197.235.     Defendants also failed to register the Securities, in violation of Utah and

   federal law.

             198.236.     Mr. Schanz, Mr. Christian, Mr. DeMordaunt, and Mr. McCartney, and,

   upon information and belief, one or more Doe Defendants are jointly and severally liable with

   Alder as control persons of Alder.

             199.237.     As a direct and proximate result of Defendants’ conduct, Plaintiffs have

   suffered compensatory damages, consequential damages, special damages, and/or rescissionary

   damages, as are recoverable at law or equity, in an amount to be proven at trial, but including the

   value of the consideration provided in exchange for the security, together with interest, attorney

   fees and/or costs as provided by law.

             200.238.     By virtue of the intentional and willful nature of Defendants’ conduct,

   which conduct was intentional, willful, malicious, and in reckless disregard of Plaintiffs’ rights,

   Plaintiffs are entitled to treble damages and punitive damages, together with 12% interest,

   attorney fees, and costs.

                                    TENTH CAUSE OF ACTION

                                    NINTH CAUSE OF ACTION

                                        (UNJUST ENRICHMENT)
                                            (All Defendants)
             201.239.     Plaintiffs incorporate the preceding paragraphs by reference.

             202.240.     To the extent the parties’Plaintiffs’ and Claimants’ relationship with Alder

   is not covered by valid and enforceable contracts, Plaintiffs assert this claim of unjust enrichment

   against Alder.



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             203.241.      With respect to Alder, Plaintiffs and Claimants have performed valuable

   services for Alder for which they reasonably expected to be compensated fairly but have not

   been compensated fairly.

             204.242.      Alder has knowingly and willingly accepted and benefited from Plaintiffs’

   and Claimants’ services.

             205.243.      It would be inequitable and unjust for Alder to retain the benefits of

   Plaintiffs’ and Claimants’ services without providing fair compensation to them.

             244.   Plaintiffs and Claimants have no contractual relationship with Cove or the

   Individual Defendants.

             245.   Alder customers and resources have been diverted without value or without

   adequate value to Cove and other entities that are owned in whole or in part by Mr. Schanz

   and/or the other Individual Defendants. See e.g. paragraphs 125-41.

             246.   Cove and the Individual Defendants have knowingly and willingly been enriched

   by the transfer to Cove of Alder customers in whose accounts Plaintiffs and Claimants hold

   Residual Securities, and by revenue streams from such accounts.

             247.   Cove and the Individual Defendants have knowingly and willingly been enriched

   by the transfer of other assets and other value to them from Alder, which Alder acquired as a

   result of Plaintiff’s and Claimants’ labor and in which Plaintiff’s and Claimants’ hold an

   equity/residual interest, as alleged in paragraphs 125 to 141.

             248.   It would be inequitable and unjust for Defendants to retain value derived from

   Plaintiffs’ and Claimants’ services without providing fair compensation to them.




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             206.249.     Plaintiffs and Claimants are entitled to fair compensation for their

   services, in an amount from Alder and to damages for unjust enrichment by Cove and the

   Individual Defendants in amounts to be determined at trial.

                             ELEVENTHTENTH CAUSE OF ACTION

                   (DECLARATORY JUDGMENT – 28 U.S.C. §§ 2201 AND 2202)
                                                 (Alder)
             207.250.     Plaintiffs incorporate the preceding paragraphs by reference.

             208.251.     Under the Declaratory Judgment Act, “[i]n a case of actual controversy

   within its jurisdiction,” this Court is empowered to “declare the rights and other legal relations of

   any interested party seeking such declaration.” 28 U.S.C. § 2201.

             209.252.     There is an actual controversy between the parties as to whether the Notes

   are valid and enforceable and whether the Residual-based compensation agreementsAgreements

   are fully valid and enforceable by Defendants.

             210.253.     Based on the facts alleged above, specifically in paragraphs 36-6241-67,

   Plaintiffs seek a declaration that the Notes are invalid, void and/or unenforceable, pursuant to

   theories of fraud in the inducement, fraud in factum, unconscionability, unclean hands, and

   estoppel.

             211.254.     The Residual-based compensation agreementsAgreements are also

   unenforceable by Defendants pursuant to Utah Code § 61-1-22 because Defendants made these

   contracts in violation of Utah securities laws.

             212.255.     In addition, all of the Agreements unconscionably deprive Plaintiffs and

   Claimants of effective means by which to enforce their rights and place an inordinate amount of

   liability on Plaintiffs and Claimants. The provisions set forth in paragraphs 68 are substantively

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   unconscionable. These agreements were also procured in a procedurally unconscionable manner,

   as set forth in paragraph 6773. Therefore, the provisions cited in paragraph 68 are unenforceable

   by Alder.

             213.256.      Plaintiffs reserve the right to seek further necessary and proper relief

   based on the Court’s entry of declaratory judgment, pursuant to 28 U.S.C. § 2202.

                                        PRAYER FOR RELIEF

             WHEREFORE, Plaintiffs, on behalf of themselves and members of the proposed Class,

   pray for judgment and the following specific relief against Defendants as follows:

             1.    That the Court declare, adjudge and decree that this action is a proper collective

   action and class action and certify the proposed Class and/or any other appropriate subclasses

   under FRCP Rule 23 and 29 U.S.C. § 216;

             2.    That, at the earliest possible time, Plaintiffs be allowed to give notice of this

   action, or that the Court issue such notice, to all members of the proposed Class, with such notice

   informing them that this civil action has been filed, the nature of the action, and of their right to

   participate in this lawsuit;

             3.    That this Court designate the named Plaintiffs as Class Representatives and their

   lawyers as Class Counsel;

             4.    That the Court enter a Judgment and Decree declaring that Defendants willfully

   violated their legal duties under the FLSA as to the Plaintiffs and the members of the proposed

   FLSA Class;

             5.    With regard to the FLSA claims, and as to the Plaintiffs and the members of the

   proposed FLSA Class, that the Court award unpaid regular and overtime compensation, together


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   with an additional amount as liquidated damages, pre- and post-judgment interest, attorney fees,

   and costs;

             6.     With regard to the UPWA violations, and as to the Plaintiffs and the members of

   the proposed Class, that the Court award the full amount of unpaid regular wages, as well as

   statutory damages, pre- and post-judgment interest, attorney fees, and costs;

             7.     With regard to the contract claims, that the Court award commissions, Residuals,

   and all other amounts owing to them under their employment agreements, plus pre- and post-

   judgment interest attorney fees, and costs;

             8.     With regard to the Utah Sales Representative Commission Payment Act claim,

   that the Court award three times the amount of unpaid Residuals and other commissions, plus

   interest, attorney fees, and costs;

             9.     With regard to the FLSA retaliation claim, that the Court award back pay, front

   pay, liquidated damages (equal to the amount of lost wages), and attorney fees;

             10.9. With regard to the fraudulent inducement claim, that the Court order rescission of

   the Notes and COJs and the Agreements;

             11.10. With regard to the fraud claim, that the Court award actual damages in at least the

   following amounts, plus punitive damages and attorney fees and costs:

                   a. The amount of the income taxes that Plaintiffs and Claimants paid on supposed

                       income reported on 1099 forms that Defendants subsequently collected or

                       attempted to collect as loans;

                   b. The attorney fees and costs expended in opposing the COJs (in other actions);




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                   c. The Residuals or “book of business” that Plaintiffs and Claimants were

                       promised as part of Alder’s fraudulent scheme but purportedly forfeited by

                       resigning or being terminated by Alder; and

                   d. Disgorgement of Alder’s profits resulting from its fraudulent scheme to induce

                       Plaintiffs and Claimants to provide Alder with uncompensated or

                       undercompensated services.

             12.11. With regard to the securities fraud claim, that the Court award treble damages and

   punitive damages, together with 12% interest, attorney fees, and costs;

             13.12. With regard to the unjust enrichment claim, that the Court award just

   compensation for the services provided to Alder by Plaintiffs and Claimants and for

   disgorgement of unjust enrichment by Cove and the Individual Defendants;

             14.13. With regard to the declaratory judgment claim, that the Court declare that the

   Notes and COJs are not valid or enforceable and that the provisions of the Agreements in

   paragraph 6874 are unenforceable by Alder; and

             15.14. That the Court order such further relief as the Court deems just and equitable,

   including but not necessarily limited to an order enjoining Defendants from continuing their

   unlawful practices.

                                              JURY DEMAND
             Plaintiffs and Claimants hereby demand trial by jury on all issues triable of right by jury.

             DATED: March 2, 2020.____________.

                                                   Respectfully Submitted,

                                                   CLYDE SNOW & SESSIONS



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                                     /s/ Matthew A. Steward/______
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